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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                     PALM BEACH DIVISION

                                         CASE NO.: 9:18-cv-80377-DMM

   EVANSTON INSURANCE COMPANY,

                            Plaintiff,

   vs.

   PATRICK WHYTE CONSTRUCTION, INC., a
   Florida corporation, ALBERT RABIL and
   TAMARA RABIL, and SEASIDE BUILDERS,
   LLC, a Florida limited liability company,

                     Defendants.
   _________________________________________/

                 AMENDED COMPLAINT FOR DECLARATORY JUDGMENT

          Plaintiff, Evanston Insurance Company on behalf of itself and, as successor by merger to

   Essex Insurance Company (hereinafter “EVANSTON”), by and through its undersigned counsel

   and pursuant to this Court’s Endorsed Order (D.E.4) and Fed. R. Civ. P. 15(a)(a), hereby files

   this Amended Complaint for Declaratory Judgment against the Defendants, Patrick Whyte

   Construction, Inc. (“PWC”), Albert Rabil (“A. Rabil”) and Tamara Rabil (“T. Rabil”)

   (collectively, the “Rabils”), and Seaside Builders, LLC (“Seaside”) (collectively “Defendants”)

   and states as follows:

                                         PRELIMINARY STATEMENT

          1.      This is a declaratory judgment action to determine an actual controversy between

   the parties with respect to a series of commercial general liability insurance policies issued by

   Essex Insurance Company (“Essex”) to PWC and a series of excess liability insurance policies
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   issued by EVANSTON to PWC. As of July 1, 2016, Plaintiff, EVANSTON, is the successor by

   merger to Essex.

           2.      EVANSTON seeks a judgment declaring that it has no duty to defend or

   indemnify PWC with respect to the claims by the Rabils asserted against PWC relating to alleged

   construction defects in the Rabils’ residence located at 344 North Ocean Drive, Delray Beach,

   Florida (the “Home”).

                                       JURISDICTION AND PARTIES

           3.      This is an action for declaratory relief pursuant to Rule 57 of the Federal Rules of

   Civil Procedure, 28 U.S.C. § 2201, and Chapter 86 of the Florida Statutes.

           4.      Jurisdiction is proper pursuant to 28 U.S.C. §§ 1332 and 1367 because there is

   complete diversity and the amount in controversy exceeds the sum of $75,000.00, exclusive of

   all interest and costs.

           5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because one or more

   of the defendants is a resident of this district, and because the defendants are subject to personal

   jurisdiction within the district.

           6.      Plaintiff, EVANSTON, is an Illinois corporation, is a foreign insurer authorized to

   do business in Florida with its principal place of business in Deerfield, Illinois, and is a citizen of

   Illinois.

           7.      Defendant PWC is a Florida corporation with its principal place of business in

   Delray Beach, Florida, and is a citizen of Florida.

           8.      Defendant A. Rabil is an individual residing in Delray Beach, Florida, and is a

   citizen of Florida.




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          9.      Defendant T. Rabil is an individual residing in Delray Beach, Florida, and is a

   citizen of Florida.

          10.     Defendant Seaside is a Florida limited liability company that is comprised of

   members PWC, who, as alleged in paragraph 7 above is a citizen of Florida, and Driscoll

   Partners, LLC (“Driscoll”), a Florida limited liability company, with its principal place of

   business in Vero Beach, Florida. Driscoll is a comprised of members William Driscoll Jr. and

   Mary Driscoll, who are citizens of Florida.     Seaside, having its principal place of business in

   Florida and being comprised of members that are all citizens of Florida, is a citizen of Florida.

                                     UNDERLYING LAWSUIT

          11.     EVANSTON brings this action to obtain a declaratory judgment finding that it

   has no duty to defend or indemnify PWC in connection with a lawsuit filed by Albert and

   Tamara Rabil against PWC in the Circuit Court of the Fifteenth Judicial Circuit in and for Palm

   Beach County, Florida, styled Albert Rabil and Tamara Rabil v. Seaside Builders, LLC, Thomas

   Laudani, and Patrick Whyte Construction, Inc., with case number 2016-CA-003916 (the

   “Underlying Complaint” or the “Underlying Lawsuit”). A copy of the operative Underlying

   Complaint is attached as Exhibit A.

          12.     On April 8, 2016, the Rabils filed the Underlying Lawsuit concerning the

   construction of their Home.      On or about November 3, 2016 Plaintiffs filed an Amended

   Complaint adding PWC to the Lawsuit alleging that PWC “provided contracting services for

   Seaside’s construction … [as the] shell subcontractor for the Home provided laborers for work at

   the Home.” See Exhibit A, ¶5.




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          13.     On January 11, 2018, the Rabils filed the Fourth Amended Complaint in the

   Underlying Lawsuit which, upon information and belief, is the operative complaint in the

   Underlying Lawsuit. See Exhibit A.

          14.     On December 18, 2013, the Rabils entered into a Construction Agreement with

   Seaside for the Construction of their Home. Id., ¶9. The contract price was $5,287,949.00.

   According to the Agreement, construction was to commence no later than 15 days after issuance

   of the building permit, and Seaside agreed to make its best efforts to substantially complete the

   work within 18 months of the commencement date. The Underlying Lawsuit alleges delay

   against Seaside, among other things. Id., ¶13.

          15.     The Certificate of Occupancy/Certificate of Completion for the Home was issued

   on March 30, 2016.

          16.     In Count I, the Rabils sue Seaside for Breach of Contract alleging that, among

   other things, Seaside:

          •       failed to properly accomplish the Work required of it under the Contract;
          •       failing to make payment to subcontractors…resulting in liens… ;
          •       failing to meet the Completion Date in the Contract;
          •       failing to complete the Work;
          •       performing defective and incomplete work which defective and incomplete work
                  by one subcontractor has damaged the work performed by other subcontractors;
          •       billing for repairs to defective original Work;
          •       billing for modifications to the Work necessitated by Seaside’s failure to properly
                  sequence the Work;
          •       submitting fraudulent payment applications;
          •       misappropriating construction funds;
          •       failing to properly supervise, schedule, and sequence subcontractors, thereby
                  resulting in overcharges to Plaintiffs and damage to one subcontractor’s work by
                  other subcontractor; and
          •       abandoning the Work.

   See Exhibit A, ¶13 and subparts.




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          17.     The Rabils sue Thomas Laudani in Count II for Fraud in conjunction with signing

   and submitting applications for payment on behalf of Seaside.

          18.     In Count III, the Rabils sue PWC for Violations of the Building Code including

   but not limited to the following:

          •       Violation of Section 104.9 – failure to install materials, equipment and devices
                  approved by the building official in accordance with such approval;
          •       Violation of Section 1901.1 and 1901.2 -- failure to properly construct structural
                  concrete slabs, hollowcore slabs and exterior concrete balconies in accordance
                  with the building code and AISC 318 as amended in section 1908 of the code;
          •       Violation of Section 2203.3 – failure to paint the structural steel members in
                  accordance with the requirements contained in AISC 360;
          •       Violation of Section 2204.2.1 – failure to install the anchor rods accurately to the
                  pattern and dimensions call [sic] for on the plans; and
          •       Violation of Section 2205.1 – failure to design, fabricate and erect structural steel
                  in accordance with AISC 360.

   See Exhibit A, ¶28 and subparts.

          19.     The Rabils allege that PWC violated the applicable building codes by failing to

   properly perform its work including but not limited to the faulty installation of various materials,

   faulty construction, and faulty design, fabrication and erection of materials in conjunction with

   constructing the Home. See Exhibit A, ¶28 and subparts.

          20.     The alleged building code violations “have resulted in damage to the work

   performed by other subcontractors, PWC’s own work and to the property of Plaintiff.” Id., ¶29.

          21.     As a result of these alleged violations, the Underlying Lawsuit alleges that

   “Plaintiffs have suffered both direct and special damages including, without limitation,

   consequential loss of use of the Home, diminution in value, expert testing and consulting

   expenses, property damage, repair costs, replacement material and supply expenses, security

   expenses, moving and storage expenses, interest and insurance expenses, permit and inspection

   expenses, and other consequential damages.” Id., ¶31. In addition, the Rabils seek general and


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   special damages, interest, costs and any additional relief that the Court deems just and proper

   under the circumstances.

          22.     PWC sought defense and indemnity from EVANSTON for the Underlying

   Lawsuit.

          23.     On January 17, 2017, EVANSTON accepted the defense of PWC in the

   Underlying Lawsuit under a reservation of rights. See Reservation of Rights dated January 17,

   2017, Exhibit B.

          24.     Among other things, the Reservation of Rights dated January 17, 2017, requested

   copies of all certificates of insurance and/or additional insured endorsements provided by any

   subcontractors. See Exhibit B. PWC failed to comply with this request.

          25.     On or about August 25, 2017, PWC’s counsel reported that PWC did not self-

   perform any work on the Home.

          26.     On April 26, 2017, PWC filed an Amended Third-Party Complaint in the Lawsuit

   against its seven subcontractors and alleging that there were no written subcontracts between

   PWC and any of its subcontractors. See Amended Third-Party Complaint, Exhibit C.

          27.     PWC failed to require, secure and maintain certificates of insurance confirming

   that the subcontractors named PWC as an additional insured on their commercial general liability

   policies and that those policies limits were at least $1 million each occurrence/$2 million general

   aggregate/$2 million products-completed operations aggregate.

          28.     On October 25, 2017, EVANSTON issued its Supplemental Reservation of Rights

   and Partial Coverage Disclaimer, identifying additional coverage defenses under the Evanston

   Policies and advising PWC that its failure to comply with the subcontractor conditions of the

   Evanston Policies resulted in the reduction of the limits under each Evanston Policy and the



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   erosion of those limits due to payment of defense costs. See Supplemental Reservation of Rights

   and Partial Coverage Disclaimer dated October 25, 2017, Exhibit D.

          29.    Among other things, the Supplemental Reservation of Rights and Partial

   Coverage Disclaimer dated October 25, 2017, requested any information or documentation that

   the PWC believes that Evanston should consider. See Exhibit D. PWC did not respond to this

   request.

          30.    EVANSTON’s October 25, 2017 Supplemental Reservation of Rights and Partial

   Coverage Disclaimer also addressed the availability of coverage under the Evanston Excess

   Policies. See Exhibit D.

          31.    As of October 25, 2017, EVANSTON had incurred legal expenses totaling

   $152,006.71. See Exhibit D.

          32.    On March 12, 2018, EVANSTON advised PWC that EVANSTON had incurred

   $191,453.01 in legal expenses and the maximum amount remaining to defend, and potentially

   indemnify, PWC under the Evanston Policies totaled $308,546.99. See March 12, 2018 E-mail

   from Ted Matthews to Patrick Whyte, attached as Exhibit E.

                                  THE EVANSTON POLICIES

          A.     The First and Second Primary Policies

          33.    Essex issued new commercial general liability policy number 3DN0500 to PWC

   which was in effect from June 14, 2013 to June 14, 2014 (the “First Primary Policy”). See First

   Primary Policy attached hereto as Exhibit F. Essex renewal policy 3DT5848 was in effect

   between June 14, 2014 and June 14, 2015 (the “Second Primary Policy”). See Second Primary

   Policy attached hereto as Exhibit G.         Each policy has limits of $1,000,000 each

   occurrence/$2,000,000 general aggregate limit (other than products/completed operations)/and



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   $2,000,000 products/completed operations aggregate limit.

             B.       The Third and Fourth Primary Policies

             34.      Essex issued new commercial general liability policy 2CN5552 to PWC which

   was in effect from June 14, 2015 to June 14, 2016 (the “Third Primary Policy”). See Third

   Primary Policy attached hereto as Exhibit H. Renewal policy 3ED0364 was in effect between

   June 14, 2016 and July 2, 2017 (“the “Fourth Primary Policy”). See Fourth Primary Policy

   attached hereto as Exhibit I. Each policy has limits of $1,000,000 each occurrence/$2,000,000

   general        aggregate   limit   (other   than   products/completed    operations)/and    $1,000,000

   products/completed operations aggregate limit.

             C.       Primary Policy Language

             35.      Each Primary Policy contains the following insuring language, in relevant part:

             SECTION I – COVERAGES
             COVERAGE           A     BODILY      INJURY      AND     PROPERTY         DAMAGE
             LIABILITY
             1.       Insuring Agreement
                      a.      We will pay those sums that the insured becomes legally obligated
                              to pay as damages because of “bodily injury” or “property
                              damage” to which this insurance applies. We will have the right
                              and duty to defend the insured against any “suit” seeking those
                              damages. However, we will have no duty to defend the insured
                              against any “suit” seeking damages for “bodily injury” or
                              “property damage” to which this insurance does not apply. We
                              may, at our discretion, investigate any “occurrence” and settle any
                              claim or “suit” that may result. But:

                              ***
                      b.      This insurance applies to “bodily injury” and “property damage”
                              only if:

                              ***
                              (2)     The “bodily injury” or “property damage” occurs during
                                      the policy period; and

                              (3)     Prior to the policy period, no insured listed under Paragraph

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                                 1. of section II – Who Is An Insured and no “employee”
                                 authorized by you to give notice of an “occurrence” or
                                 claim, knew that the “bodily injury” or “property damage”
                                 had occurred, in whole or in part. If such a listed insured or
                                 authorized "employee" knew, prior to the policy period,
                                 that the “bodily injury” or “property damage” occurred,
                                 then any continuation, change or resumption of such
                                 “bodily injury” or “property damage” during or after the
                                 policy period will be deemed to have been known prior to
                                 the policy period.

                  ***
                  d.     “Bodily injury” or “property damage” will be deemed to have been
                         known to have occurred at the earliest time when any insured listed
                         under Paragraph 1. of Section II – Who Is an Insured or any
                         “employee” authorized by you to give or receive notice of an
                         “occurrence” or claim:

                         (1)     Reports or, or any part, of the “bodily injury” or “property
                                 damage” to us or any other insurer;

                         (2)     Receives a written or verbal demand or claim for damages
                                 because of the “bodily injury” or “property damage”; or

                         (3)     Becomes aware by any other means that “bodily injury” or
                                 “property damage” has occurred or begun to occur.

                  ***
   See Exhibits F, G, H and I.

          36.     Each Primary Policy contains the following relevant provisions:

          SECTION V – DEFINITIONS

          ***

             a. “Occurrence” means an accident, including continuous or repeated
                exposure to substantially the same general harmful conditions.

          ***
          37.    “Products-completed operations hazard”:
                  a.     Includes all “bodily injury” and “property damage” occurring away
                         from premises you own or rent and arising out of “your product” or
                         “your work” except:
                         (1)     Products that are still in your physical possession; or

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                         (2)      Work that has not yet been completed or abandoned.
                                  However, “your work” will be deemed completed at the
                                  earliest of the following times:
                                  (a)    When all of the work called for in your contract has
                                         been completed.
                                  (b)    When all of the work to be done at the job site has
                                         been completed if your contract calls for work at
                                         more than one job site.
                                  (c)    When that part of the work done at a job site has
                                         been put to its intended use by any person or
                                         organization other than another contractor or
                                         subcontractor working on the same project.
                                  Work that may need service, maintenance, correction,
                                  repair or replacement, but which is otherwise complete,
                                  will be treated as completed.
                  ***
          38.     “Property damage” means:
                  a.     Physical injury to tangible property, including all resulting loss of
                         use of that property. All such loss of use shall be deemed to occur
                         at the time of the physical injury that caused it; or
                  b.      Loss of use of tangible property that is not physically injured. All
                         such loss of use shall be deemed to occur at the time of the
                         "occurrence" that caused it.
                  ***
          ***
          39.     “Your work”:
                  a.     Means:
                         (1)       Work or operations performed by you or on your behalf;
                                  and
                         (2)       Materials, parts or equipment furnished in connection with
                                  such work or operations.
                  b.     Includes:
                         (1)      Warranties or representations made at any time with respect
                                  to the fitness, quality, durability, performance or use of
                                  "your work", and
                         (2)      The providing of or failure to provide warnings or
                                  instructions.

   See Exhibits F, G, H and I.

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            D.    Excess Policies

            40.   Evanston Insurance Company issued new Excess Liability Policy XOVA891215

   to PWC which was in effect between February 5, 2015 and June 14, 2015 with limits of

   $1,000,000 each occurrence/$1,000,000 aggregate (“First Excess Policy”). The First Excess

   Policy identifies the Second Primary Policy as the Controlling Underlying Insurance Policy. See

   First Excess Policy attached hereto as Exhibit J.

            41.   Evanston Insurance Company issued new Commercial Excess Liability Policy

   MKLV20LE101993 to PWC which was in effect between June 14, 2015 and June 14, 2016 with

   limits of $1,000,000 each occurrence/$1,000,000 aggregate (“Second Excess Policy”). The

   Second Excess Policy identifies the Third Primary Policy as “Underlying Insurance.” See

   Second Excess Policy attached hereto as Exhibit K.

            42.   Evanston Insurance Company issued renewal Commercial Excess Liability Policy

   MKLV2EUL100047 to PWC which was in effect between June 14, 2016 and July 2, 2017 with

   limits of $1,000,000 each occurrence/$1,000,000 aggregate (“Third Excess Policy”). The Third

   Excess Policy identifies the Fourth Primary Policy as “Underlying Insurance.” See Third Excess

   Policy attached hereto as Exhibit L.

            43.   Each Evanston Excess Policy is a limited follow form policy. See Exhibits J, K

   and L.

                         REQUEST FOR DECLARATORY JUDGMENT

            44.   EVANSTON requests a final declaratory judgment finding that there is no duty to

   defend or indemnify PWC in connection with the Rabils’ allegations in the Underlying

   Complaint.

            45.   Based upon the allegations in the Underlying Complaint, there are provisions,

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   terms, conditions and/or exclusions in the Policy which do not provide or otherwise operate to

   exclude coverage for PWC.

             46.    There exists a bona fide, actual present and practical need for a declaration of

   coverage under the Policy and the rights and obligations of EVANSTON.

             47.    The rights and obligations of EVANSTON under the Policy are dependent upon

   the facts and law applicable to the facts affecting coverage under the Policy.

             48.    This demand for declaratory judgment is not made for the purposes of seeking a

   legal opinion, but rather is needed to resolve an existing dispute which creates doubt between the

   parties as to their legal rights, responsibilities, and obligations under the Policy.

             49.    All proper and present antagonistic or adverse interests are before the Court by

   proper process.

                                 COUNT I
       THE FIRST AND SECOND PRIMARY POLICIES ARE EXHAUSTED AND
    EVANSTON HAS NO FURTHER DUTY TO DEFEND OR INDEMNIFY PWC UNDER
                 THE FIRST AND SECOND PRIMARY POLICIES


             50.    Paragraphs 1 through 49 are incorporated and re-alleged as if fully set forth

   herein.

             51.    The First and Second Primary Policies include the Construction Risk Coverage

   Amendment which provides, in relevant part:

   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         CONSTRUCTION RISK COVERAGE AMENDMENT
                              (RESIDENTIAL UNIT LIMITATION)

             This endorsement modifies insurance provided under the following:

             COMMERCIAL GENERAL LIABILITY COVERAGE PART

             ***

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          C.      The following is added to SECTION IV – COMMERCIAL GENERAL
                  LIABILITY CONDITIONS:

          If subcontractors are used, you must require, secure, and maintain certificates of
          insurance that confirm the subcontractors:

          a.      Carry minimum Commercial General Liability coverage limits that are at
                  least equal to the limits of this insurance; and
          b.      Name you as an additional insured on their coverage.

          Failure to comply with this condition does not void your coverage. If you do not
          comply, your limits of liability under this insurance will be reduced to sublimits
          of $50,000 Each Occurrence/$50,000 Aggregate, including loss adjustment
          expenses and defense. This sublimit is the most we will pay for all damages
          arising out of any one “occurrence”, and the most we will pay for all claims under
          this insurance, including loss adjustment expenses, investigation and defense. If
          the sublimit is tendered or exhausted, we will not defend or continue to defend
          you in any “suit”.

                 All other terms and conditions remain unchanged.

   See Exhibit F and Exhibit G.

          52.     PWC failed to require, secure and maintain certificates of insurance confirming

   that the subcontractors named PWC as an additional insured on their commercial general liability

   policies and that those policies limits were at least $1 million each occurrence/$2 million general

   aggregate/$2 million products-completed operations aggregate.

          53.     PWC failed to comply with the conditions in the endorsement therefore reducing

   the limits of the First and Second Primary Policies to $50,000 each occurrence/$50,000

   aggregate including loss adjustment expenses, investigation and defense.

          54.     EVANSTON has incurred and paid in excess of $100,000 in loss adjustment

   expenses, investigation and defense and therefore the $50,000 sublimit under each of the First

   and Second Primary Policies has been exhausted.




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             55.    Because the $50,000 each occurrence/$50,000 aggregate sublimit under the First

   Policy and Second Primary Policy have each been exhausted by payment of in loss adjustment

   expenses, investigation and defense, EVANSTON has no further duty to defend or potentially

   indemnify PWC under the First Primary Policy and no further duty to defend or potentially

   indemnify PWC under the Second Primary Policy.

             56.    WHEREFORE, EVANSTON seeks a judgment in its favor, declaring and

   adjudicating that EVANSTON is not obligated to further defend and/or indemnify PWC in the

   Underlying Lawsuit under either the First Policy or the Second Policy because the limits of the

   First Primary Policy and Second Primary Policy are exhausted.

                               COUNT II
    THE THIRD AND FOURTH PRIMARY POLICIES ARE OR WILL BE EXHAUSTED
     AND EVANSTON HAS NO FURTHER DUTY TO DEFEND OR INDEMNIFY PWC
             UNDER THE THIRD AND FOURTH PRIMARY POLICIES

             57.    Paragraphs 1 through 56 are incorporated and re-alleged as if fully set forth

   herein.

             58.    The Third and Fourth Primary Policies include the Limitation – Contractor or

   Subcontractor Management endorsement which states:

    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     LIMITATION - CONTRACTOR OR SUBCONTRACTOR
                                    MANAGEMENT

             This endorsement modifies insurance provided under the following:

             COMMERCIAL GENERAL LIABILITY COVERAGE FORM




             A.     The following is added to Section IV — Commercial General Liability
                    Conditions:

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                 Contractor Or Subcontractor Management

                 Prior to the commencement of any work performed for or on behalf of the
                 insured by a contractor or subcontractor; the insured must require, secure
                 and maintain a certificate of insurance that confirms that the contractor or
                 subcontractor:

                 a.      Carries Commercial General Liability coverage with limits that are
                         equal to or greater than the limits shown in the Schedule above;
                         and
                 b.      Names you as an additional insured on such coverage.

                 If no limits are shown in the Schedule above, then the limits carried by the
                 contractor or subcontractor must be equal to or greater than the limits
                 shown in the Declarations of this Coverage Form.

          B.     If all of the conditions of the Contractor Or Subcontractor Management
                 condition are not met or the insured fails to provide proof of compliance
                 with such conditions at the time of an "occurrence", the following is added
                 to Section III — Limits of Insurance and will apply to such "occurrence":

                 Subject to Paragraph 2. of Section III — Limits of Insurance, $50,000 is
                 the most we will pay for the sum of all:

                 a.      Damages under Coverage A;
                 b.      Damages under Coverage B;
                 c.      Medical Expenses under Coverage C;
                 d.      Loss adjustment expenses;
                 e.      Supplementary payments; and
                 f.      Defense costs,

                 because of all "bodily injury", 'property damage", and "personal and
                 advertising injury" arising out of any one "occurrence" when the insured
                 fails to meet or provide proof of compliance with the Contractor Or
                 Subcontractor Management condition.

                 Once this limit is exhausted, we are no longer obligated to defend or
                 indemnify the insured for such "occurrence".

                 All other terms and conditions remain unchanged.

   See Exhibit H and Exhibit I.

          59.    PWC failed to require, secure and maintain certificates of insurance confirming



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   that the subcontractors named PWC as an additional insured on their commercial general liability

   policies and that the subcontractors’ policy limits were no less than the limits reflected in the

   Schedule of the Limitation – Contractor or Subcontractor Management endorsement.

          60.     PWC failed to provide proof of compliance with the conditions as requested in

   Evanston’s January 17, 2017 reservation of rights letter.

          61.     PWC failed to comply with the conditions in the endorsement therefore reducing

   the limits of the Third Primary Policy and Fourth Primary Policy to $50,000 including damages,

   loss adjustment expenses, medical expenses, supplemental payments and defense costs because

   of “property damage” arising out of any one “occurrence”.

          62.     Because PWC failed to comply with the Limitation – Contractor or Subcontractor

   Management endorsement, the maximum possible amount available to defend and indemnify

   PWC under the Third Primary Policy and Fourth Primary Policy is $400,000 per policy.

          63.     EVANSTON has incurred and/or paid $91,453.01 in loss adjustment expenses

   and/or supplementary payments and/or defense costs under the Third Primary Policy leaving

   $308,546.991 as the maximum amount remaining to defend and potentially indemnify PWC in

   the Underlying Lawsuit which has been or will be exhausted by payment of damages, loss

   adjustment expenses, medical expenses, supplemental payments and/or defense costs, prior to the

   conclusion of this action and prior to the conclusion of the Underlying Lawsuit.

          64.     WHEREFORE, EVANSTON seeks a judgment in its favor, declaring and

   adjudicating that EVANSTON is not obligated to further defend and/or indemnify PWC in the



   1
     Because the Pre-Existing Injury, Loss or Damage Exclusion in the Fourth Primary Policy
   applies to the allegations of the Underlying Complaint and/or the actual indisputable facts to
   preclude coverage under the Fourth Primary Policy, as discussed in Count III, the maximum
   available amounts remaining to defend and potentially indemnify PWC are the reduced
   remaining limits under the Third Primary Policy only.
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   Underlying Lawsuit upon exhaustion of the reduced limits of the Third and Fourth Primary

   Policies pursuant to the Limitation – Contractor and Subcontractor Management endorsement.

                                 COUNT III
      EVANSTON HAS NO DUTY TO DEFEND OR INDEMNIFY PWC UNDER THE
    FOURTH PRIMARY POLICY AND THE THIRD EXCESS POLICY BECAUSE THE
   PRE-EXISTING INJURY, LOSS OR DAMAGE EXCLUSION EXCLUDES COVERAGE

             65.    Paragraphs 1 through 56 are incorporated and re-alleged as if fully set forth

   herein.

             66.    The Pre-Existing Injury Loss or Damage Exclusion in each Primary Policy

   provides:

    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    PRE-EXISTING INJURY, LOSS OR DAMAGE EXCLUSION

             The coverage under this policy does not apply to “bodily injury,” “property
             damage,” or “personal and advertising injury” or any injury, loss or damage:

                    (A)    which first occurred, began to occur, or is alleged to have occurred
                           prior to, or is alleged to be in the process of occurring to any
                           degree, as of the inception date of this policy;

                    (B)    which is caused by or alleged to have been caused by incremental,
                           continuous or progressive damage arising from an “occurrence”
                           which first occurred, began to occur, or is alleged to have occurred
                           prior to the inception date of this policy.

             All other terms and conditions remain unchanged.

   See Exhibits F, G, H and I.

             67.    The Pre-Existing Injury, Loss or Damage Exclusion excludes coverage for

   “property damage” which first occurred, began to occur or occurred to any degree prior to the

   inception date of each Primary Policy.

             68.    The Pre-Existing Injury, Loss or Damage Exclusion excludes coverage for

   “property damage” or any injury loss or damage which is caused by or alleged to have been

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   caused by incremental, continuous or progressive damage arising from an “occurrence” which

   first occurred, began to occur, or is alleged to have occurred prior to the inception date of each

   Primary Policy.

          69.     PWC’s allegedly defective work – including the allegedly defective work of

   PWC’s subcontractors – first occurred, began to occur and/or is alleged to have occurred and was

   completed prior to June 14, 2016, the inception of the Fourth Primary Policy.

          70.     Any “property damage” and injury, loss or damage allegedly suffered by the

   Plaintiffs is caused by or alleged to have been caused by incremental, continuous or progressive

   damage arising out of an occurrence which precedes the inception of the Fourth Primary Policy

   and therefore, the coverage under the Fourth Primary Policy does not apply to the Underlying

   Lawsuit.

          71.     The Third Excess Policy follows the terms, conditions, definitions and exclusions

   of the Fourth Policy unless the terms, conditions, definitions and exclusions of the Fourth Policy

   are contrary to the terms, conditions, definitions and exclusions of the Third Excess Policy. See

   Exhibit L.

          72.     Because the Pre-Existing Injury Loss or Damage Exclusion is incorporated into

   the Third Excess Policy and/or the Third Excess Policy’s Exclusion Prior Incidents and Prior

   Construction Defects endorsement excludes coverage for the Underlying Lawsuit, the Third

   Excess Policy does not apply to the Underlying Lawsuit. See Exhibit L.

          73.     WHEREFORE, EVANSTON seeks a judgment in its favor, declaring and

   adjudicating that EVANSTON is not obligated to defend or indemnify PWC in the Underlying

   Lawsuit under the Fourth Primary Policy or the Third Excess Policy.




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                                COUNT IV
        EVANSTON DOES NOT HAVE A DUTY TO DEFEND OR INDEMNIFY PWC
      BECAUSE THE UNDERLYING COMPLAINT DOES NOT ALLEGE “PROPERTY
     DAMAGE” CAUSED BY AN “OCCURRENCE” UNDER THE PRIMARY POLICIES

             74.   Paragraphs 1 through 56 are incorporated and re-alleged as if fully set forth

   herein.

             75.   The insuring agreements in the Primary Policies provide, in part, for payment for

   “property damage” caused by an “occurrence.” See Exhibits F, G, H and I.

             76.   The Primary Policies define “occurrence” as “an accident, including continuous

   or repeated exposure to substantially the same general harmful conditions.”

             77.   The Underlying Complaint sets forth claims for construction defects and faulty

   workmanship. See Exhibit A.

             78.   The Primary Policies do not provide coverage for the damages sought in the

   Underlying Lawsuit because the damages alleged did not result from an “occurrence.”

             79.   The Underlying Complaint does not specifically allege damage to property other

   than the property that was the subject of the construction project itself.

             80.   The Underlying Complaint alleges noncompliant and defective workmanship.

   See Exhibit A, ¶28 and subparts.

             81.   The Primary Policies do not provide coverage for the damages sought in the

   Underlying Lawsuit because the alleged damage does not constitute “property damage” as

   defined in the Primary Policies.

             82.   Because the Excess Policies follow the form of the Primary Policies, the Excess

   Policies also do not provide coverage to PWC because the damages alleged did not result from

   an “occurrence” and/or do not constitute “property damage” under the Primary Policies.




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             83.   WHEREFORE, EVANSTON seeks a judgment in its favor, declaring and

   adjudicating that EVANSTON is not obligated to defend and/or indemnify PWC for damages

   sought in the Underlying Lawsuit because the alleged damages do not fall within the insuring

   agreement of the Primary Policies because there was no “occurrence” and/or no “property

   damage” under the Primary Policies and, concomitantly, no coverage under the Excess Policies.

                                COUNT V
    EACH PRIMARY POLICY EXCLUDES COVERAGE FOR “PROPERTY DAMAGE”
          ARISING OUT OF PWC’S WORK AND/OR THE WORK OF PWC’S
                           SUBCONTRACTORS

             84.   Paragraphs 1 through 56 are incorporated and re-alleged as if fully set forth

   herein.

             85.   Each Primary Policy includes the following language:

             2.    Exclusions
                   This insurance does not apply to:

                   ***
                   j.     Damage to Property

                          “Property damage” to
                          ***
                          (5)    That particular part of real property on which you or any
                                 contractors or subcontractors working directly or indirectly
                                 on your behalf are performing operations, if the “property
                                 damage” arises out of those operations; or

                          (6)    That particular part of any property that must be restored,
                                 repaired or replaced because “your work” was incorrectly
                                 performed on it.
                   ***
                   Paragraph (6) of this exclusion does not apply to “property damage”
                   included in the “products-completed operations hazard”.
                   [This last paragraph deleted by endorsement in the First and Second
                   Policies.]

                   ***
                   l.     Damage to Your Work
                   “Property damage” to “your work” arising out of it or any part of it and

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                  included in the “products-completed operations hazard”.
                  This exclusion does not apply if the damaged work or the work out of
                  which the damage arises was performed on your behalf by a subcontractor.
                  [The last paragraph deleted by endorsement in all Policies.]

   See Exhibits F, G, H and I.

          86.     The Primary Policies only provide coverage for “property damage” which

   happens during the policy period, and is caused by an “occurrence.”

          87.     Claims seeking repair and replacement of defective or non-compliant work do not

   constitute “property damage”.

          88.     PWC’s work began no earlier than December 18, 2013, the date of the Rabils’

   construction contract with Seaside, and was completed no later than March 30, 2016, the date the

   Certificate of Occupancy was issued.

          89.     Any “property damage” occurring to that particular part of real property on which

   PWC or PWC’s subcontractors were performing operations, while PWC or its subcontractors

   were performing operations, is excluded pursuant to Exclusion 2.j.5 in the Primary Policies if the

   property damage arose out of those operations.

          90.     Any “property damage” occurring to “[t]hat particular part of any property that

   must be restored, repaired or replaced because [PWC’s work or the work of PWC’s

   subcontractors] was incorrectly performed on it,” is excluded pursuant to Exclusion 2.j.6 in the

   Third Primary Policy and Fourth Primary Policy if the “property damage” occurred prior to the

   time PWC’s work was included within the “products-completed operations hazard”.               See

   Exhibits H and I.

          91.     Any “property damage” occurring to “[t]hat particular part of any property that

   must be restored, repaired or replaced because [PWC’s work or the work of PWC’s

   subcontractors] was incorrectly performed on it,” is excluded pursuant to Exclusion 2.j.6, as

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   amended by the Construction Risk Coverage Amendment, in the First Primary Policy and

   Second Primary Policy if the “property damage” occurred while PWC was working or after

   PWC’s work was completed. See Exhibits F and G.

             92.   Any “property damage” arising out of PWC’s or its subcontractors’ completed

   work is excluded under each of the Evanston Policies pursuant to Exclusion 2.l., as amended by

   the Construction Risk Coverage Amendment in the First Primary Policy and Second Primary

   Policy and the Exclusion – Damage to Work Performed by Subcontractors on Your Behalf

   endorsement in the Third Primary Policy and Fourth Primary Policy. See Exhibits F, G, H and I.

             93.   Because the Excess Policies follow the form of the Primary Policies, Exclusions

   2.j.5 and 2.j.6., as described in paragraphs 84-86, supra, also apply to exclude coverage under

   the Excess Policies.

             94.   Because the Excess Policies follow the form of the Primary Policies, the Excess

   Policies also do not provide coverage for damage to or arising out of PWC’s completed work or

   the completed work of PWC’s subcontractors.

             95.   WHEREFORE, EVANSTON seeks a judgment in its favor, declaring and

   adjudicating that EVANSTON is not obligated to indemnify PWC for damages arising out of

   PWC’s work or the work of PWC’s subcontractors in the Underlying Lawsuit as all such

   damages are excluded under each of the Primary Policies and, concomitantly, each of the Excess

   Policies.

                                COUNT VI
       EVANSTON HAS NO DUTY TO INDEMNIFY PWC UNDER THE PRIMARY
    POLICIES FOR ANY “PROPERTY DAMAGE” CAUSED BY, CONTRIBUTED TO BY
                         OR ARISING OUT OF FUNGI

             96.   Paragraphs 1 through 56 are incorporated and re-alleged as if fully set forth

   herein.

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          97.    Each Primary Policy contains the following endorsement:

                        COMBINATION GENERAL ENDORSEMENT2
          This endorsement modifies insurance provided under the following:
          COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                               ***
          B.     The following Exclusions are added:

                 This insurance does not apply to:

                                                    ***
                 4.     “Bodily injury”, “property damage”, “personal and advertising injury” or
                        any injury, loss, or damages, including consequential injury, loss or
                        damage, arising out of, caused by or contributed to by:

                                                ***
                        d.     Asbestos, lead, silica dust and/or toxic dust, “fungi”, bacteria,
                               organic pathogens, bio-organic growth and/or systematic chemical
                               poisoning:
                               (1)     Whether arising out of actual, alleged or threatened
                                       inhalation of, ingestion of, contact with, exposure to,
                                       existence of, presence of, discharge, dispersal, seepage,
                                       migration, infiltration, infestation, release, escape, growth,
                                       production or reproduction of or toxic substances from
                                       asbestos, lead, silica dust, dust and/or toxic dust, “fungi”,
                                       bacteria, organic pathogens, bio-organic growth and/or
                                       systematic chemical poisoning. This applies regardless of
                                       source, including but not limited to, from any goods,
                                       products or structures containing same, existence of same
                                       in any form, in occupancy or construction, manufacture,
                                       sale, transportation, handling, storage, disposal or removal
                                       of same; and
                               (2)     Regardless of supervision, instructions, recommendation,
                                       requests, warnings or advice given or which should have
                                       been given, as well as any costs, including but not limited
                                       to abatement, mitigation, removal, containment, treatment,
                                       detoxification, neutralization, or disposal of same, or in any
                                       way response to assess the effects of same.


   2
    This version of the Combination General Endorsement appears in the First and Second Primary
   Policies (MEGL 0001 06 12). See Exhibits F and G. The version of the Combination General
   Endorsement in the Third and Fourth Primary Policies (MEGL 0001 08 14) includes a differently
   formatted but similarly worded fungi exclusion. See Exhibits H and I.
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                                 Coverage does not apply to any loss, cost or expenses arising out
                                 of the abating, testing for, monitoring, cleaning up, removing,
                                 containing, treating, detoxifying, neutralizing, remediating or
                                 disposing of, or in any way, responding to, or assessing the effects
                                 by any insured or by any other person or entity.
                                 “Fungi” as used herein means any type or form of fungus,
                                 including mold or mildew and any mycotoxins, spores, scents or
                                 byproducts produced or released by “fungi”. However, this
                                 exclusion does not apply to any “fungi” or bacteria that are on, or
                                 are contained in, a good or product intended for bodily
                                 consumption.
                  ***
                  All other terms and conditions remain unchanged.

          98.     Plaintiffs allege water intrusion as a result of the allegedly defective construction

   of the Home. See e.g., Exhibit C, Amended Third-Party Complaint at Exhibit B at 2.1.2; 9.1;

   9.16; 13.7.

          99.     To the extent Plaintiffs seek recovery for damage arising out of, caused by or

   contributed to by fungi including but not limited to mold, the Combination General Endorsement

   in each Primary Policy excludes coverage for any and all such injury, loss or damage including

   but not limited to monitoring, testing and clean-up costs. See Exhibits F, G, H and I.

          100.    Because the Excess Policies follow the form of the Primary Policies, the Excess

   Policies also do not provide coverage for damage arising out of, caused by or contributed to by

   fungi including but not limited to monitoring, testing and clean-up costs.

          101.    WHEREFORE, EVANSTON seeks a judgment in its favor, declaring and

   adjudicating that EVANSTON is not obligated to indemnify PWC for damage arising out of,

   caused by or contributed to by fungi including but not limited to mold which is excluded under

   the Primary Policies and, concomitantly, excluded under the Excess Policies.




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                               COUNT VII
      EVANSTON HAS NO DUTY TO INDEMNIFY PWC UNDER THE THIRD AND
   FOURTH PRIMARY POLICIES AND THE SECOND AND THIRD EXCESS POLICIES
     BECAUSE PWC KNEW PRIOR TO THE POLICY PERIODS THAT “PROPERTY
                       DAMAGE” HAD OCCURRED

             102.   Paragraphs 1 through 56 are incorporated and re-alleged as if fully set forth

   herein.

             103.   The insuring agreements in the Third and Fourth Primary Policies provide that if

   PWC knew that “property damage” had occurred in whole or in part prior to the policy period,

   “then any continuation, change or resumption of such ‘property damage’ during or after the

   policy period will be deemed to have been known prior to the policy period.” See Exhibits H

   and I.

             104.   Upon information and belief, PWC knew that “property damage” occurred in

   whole or in part prior to June 14, 2015, the inception of the Third Primary Policy.

             105.   PWC knew “property damage” occurred in whole or in part prior to June 14,

   2016, the inception of the Fourth Primary Policy.

             106.   Upon information and belief, Seaside, including its member, PWC, knew that

   “property damage” occurred in whole or in part prior to June 14, 2015, the inception of the Third

   Primary Policy.

             107.   Seaside, including its member, PWC, knew that “property damage” occurred in

   whole or in part prior to June 14, 2016, the inception of the Fourth Primary Policy.

             108.   Because PWC knew that “property damage” had occurred in whole or in part

   prior to the inception of the Third Primary Policy and Fourth Primary Policy, any continuation,

   change or resumption of such ‘property damage’ during or after the time the Third Primary




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   Policy incepted and the Fourth Primary Policy incepted will be deemed to have been known

   prior to the inception of each of those policies.

            109.   Because the “property damage” is deemed to have been known prior to the

   inception of the Third Primary Policy and Fourth Primary Policy, the Underlying Lawsuit does

   not fall within the insuring agreement of the Third and Fourth Primary Policies and therefore, the

   Third Primary Policy and Fourth Primary Policy do not provide coverage for the Lawsuit.

            110.   The Second Excess Policy follows the terms, conditions, definitions and

   exclusions of the Third Primary Policy unless the terms, conditions, definitions and exclusions of

   the Third Primary Policy are contrary to the terms, conditions, definitions and exclusions of the

   Second Excess Policy3. See Exhibit K.

            111.   The Third Excess Policy follows the terms, conditions, definitions and exclusions

   of the Fourth Policy unless the terms, conditions, definitions and exclusions of the Fourth Policy

   are contrary to the terms, conditions, definitions and exclusions of the Third Excess Policy4. See

   Exhibit L.

            112.   Because the insuring agreement language in the Third and Fourth Primary

   Policies is incorporated into the Second and Third Excess Policies, respectively, and/or the

   Second and Third Excess Policies’ Known Injury or Damage Limitation endorsement applies,

   the Second and Third Excess Policies does not apply to the Underlying Lawsuit. See Exhibits K

   and L.

   3
     The Second Excess Policy includes a Known Injury or Damage Limitation endorsement which
   is substantially similar to the language included in the insuring agreement of the Third Primary
   Policy. If different, however, the language included in the Second Excess Policy controls. See
   Exhibit K.
   4
    The Third Excess Policy includes a Known Injury or Damage Limitation endorsement which is
   substantially similar to the language included in the insuring agreement of the Fourth Primary
   Policy. If different, however, the language included in the Third Excess Policy controls. See
   Exhibit L.
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             113.   WHEREFORE, EVANSTON seeks a judgment in its favor, declaring and

   adjudicating that EVANSTON is not obligated indemnify PWC for damages sought in the

   Underlying Lawsuit because the Underlying Lawsuit does not fall within the insuring agreements

   of the Third Primary Policy and Fourth Primary Policy and, concomitantly, the second and Third

   Excess Policies, and EVANSTON is not obligated to indemnify PWC under the Third and

   Fourth Primary Policies and Second and Third Excess Policies.

                                   COUNT VIII
             EVANSTON HAS NO DUTY TO DEFEND OR INDEMNIFY PWC UNDER
                            THE FIRST EXCESS POLICY

             114.   Paragraphs 1 through 56 are incorporated and re-alleged as if fully set forth

   herein.

             115.   The First Excess Policy follows the Insuring Agreements, Definitions, Conditions

   and Exclusions of the Second Primary Policy.

             116.   The Second Primary Policy is “excess over [a]ny other primary insurance

   available to [PWC] covering liability for damages arising out of the premises or operations, or

   the products and completed operations, for which [PWC] has been added as an additional insured

   by attachment of an endorsement.” See Exhibit G.

             117.   The First Excess Policy provides that EANSTON “shall not be called upon to

   assume charge of the investigation, settlement or defense of any claim made, or suit brought, or

   proceedings instituted against the Insured, but shall have the right and be given the opportunity

   to be associated in the defense and trial of any such claim, suit or proceeding relative to any

   occurrence which, in the opinion of the Company, may create liability on the part of the

   Company under the terms of this policy.” See Exhibit J.




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          118.      The Independent Contractor Endorsement in the First Excess Policy provides that

   if the insured fails to meet the requirements of the endorsement which include securing “a

   written agreement from each and every Independent Contractor holding the insured harmless”;

   “obtain certificates of insurance from each and every Independent Contractor stating that the

   Independent Contractor maintains commercial general liability insurance coverage … “; and

   “certificates shall evidence [PWC] as an additional insured.” See Exhibit J.

          119.      If the insured fails to comply with the Independent Contractor Endorsement, the

   First Evanston Excess Policy “will respond as if such underlying insurance coverage were in

   place.” See Exhibit J.

          120.      The First Excess Policy does not include a duty to defend.

          121.      The First Excess Policy indemnifies the Insured for “that portion of Ultimate Net

   Loss in excess of the limits of Underlying Insurance.” See Exhibit J.

          122.      PWC failed to comply with the Construction Risk Coverage Amendment in the

   Second Primary Policy.

          123.      PWC failed to comply with the Independent Contractor Endorsement in the First

   Excess Policy.

          124.      EVANSTON has no obligation to indemnify PWC under the First Excess Policy

   until a minimum of $2 million in underlying insurance has been exhausted by paying for covered

   damages.

          125.      WHEREFORE EVANSTON seeks a judgment in its favor, declaring and

   adjudicating that EVANSTON is not obligated to defend and/or indemnify PWC in the

   Underlying Lawsuit under the First Excess Policy.




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                                    COUNT IX
             EVANSTON HAS NO DUTY TO DEFEND OR INDEMNIFY PWC UNDER
                      THE SECOND AND THIRD EXCESS POLICIES

             126.   Paragraphs 1 through 56 are incorporated and re-alleged as if fully set forth

   herein.

             127.   The Second and Third Excess Policies are “subject to the same terms, conditions,

   agreements, exclusions and definitions as the [Third and Fourth Primary Policies, respectively]

   except … with respect to any provisions to the contrary” in the Second and Third Excess

   Policies. See Exhibits K and L.

             128.   The Third and Fourth Primary Policies are “excess over [a]ny other primary

   insurance available to [PWC] for liability for damages damages arising out of the premises or

   operations, or the products and completed operations, for which [PWC] has been added as an

   additional insured.” See Exhibits H and I.

             129.   The Second and Third Excess Policies provide that Evanston “will have … a duty

   to defend … claims or suits [seeking damages because of injury to which this insurance may

   apply] when the applicable limit of insurance of the ‘Underlying Insurance’ has been exhausted

   by payment of judgments, settlements and any cost or expense subject to such limit. … .” See

   Exhibits K and L.

             130.   The Contractors and Subcontractors – Indemnification and Insurance Conditions

   endorsement in the Second Excess Policy and Third Excess Policy provides that if the insured

   fails to comply with any of the conditions which include, but are not limited to, being named as

   an additional insured on the subcontractors’ CGL occurrence-based policies; the required

   subcontractor insurance is primary and non-contributory; and is evidenced by certificates of

   insurance. See Exhibits K and L.



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          131.   If the insured fails to comply with the Contractors and Subcontractors –

   Indemnification and Insurance Conditions, the Second and Third Excess Policies “will apply to

   the same extent had the contractor or subcontractor maintained the insurance as required by this

   endorsement.” See Exhibit K and L.

          132.   PWC failed to comply with the Limitation - Contractor Or Subcontractor

   Management endorsements in the Third and Fourth Primary Policies.

          133.   PWC failed to comply with the Contractors and Subcontractors – Indemnification

   and Insurance Conditions in the Second Excess Policies and Third Excess Policy.

          134.   The Second and Third Excess Policy shall apply as if the “underlying insurance”

   were valid and collectible. See Exhibits K and L.

          135.   EVANSTON has no obligation to defend or indemnify PWC under the Second

   and Third Excess Policies until a minimum of $2 million in underlying insurance has been

   exhausted for each occurrence by paying for judgments, settlements and any cost or expense.

          136.   WHEREFORE EVANSTON seeks a judgment in its favor, declaring and

   adjudicating that EVANSTON is not obligated to defend and/or indemnify PWC in the

   Underlying Lawsuit under the Second and Third Excess Policies.

                                             Relief Sought

          For the reasons set forth above, EVANSTON seeks the following declarations:

          a.     That this Court has jurisdiction over the parties in this matter.

          b.     That EVANSTON has no duty to indemnify PWC because the Underlying

                 Complaint alleges damages that do not constitute “property damage” and/or were

                 not caused by an “occurrence” under the Primary Policies.

          c.     That EVANSTON has no duty to defend or indemnify PWC under the Fourth



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               Primary Policy and the Third Excess Policy because the Pre-existing Injury, Loss

               or Damage Exclusion excludes coverage under the Fourth Primary Policy and the

               Third Excess Policy.

         d.    That PWC’s failure to comply with the Construction Risk Coverage Amendment

               in the First and Second Primary Policies have reduced the limits available under

               those polices to $50,000 each occurrence/$50,000 aggregate, including loss

               adjustment expenses and defense, and the First and Second Primary Policies have

               therefore been exhausted and EVANSTON has no further duty to defend or

               potentially indemnify PWC under the First Primary Policy and the Second

               Primary Policy.

         e.    That PWC’s failure to comply with the Limitation – Contractor or Subcontractor

               Management endorsement in the Third and Fourth Primary Policies have reduced

               the limits available under those polices to $50,000 including damages, loss

               adjustment expenses, medical expenses, supplemental payments and defense costs

               because of “property damage” arising out of any one “occurrence”. Therefore,

               the maximum amount available to defend and potentially indemnify PWC under

               the Third and Fourth Primary Policy is the remaining limit under the Third

               Primary Policy which has, or will be, exhausted and EVANSTON will have no

               further obligation to defend or potentially indemnify PWC under the Third

               Primary Policy and/or Fourth Primary Policy.

         f.    That EVANSTON has no duty to indemnify PWC for damages arising out of,

               caused by or contributed to by fungi including but not limited to mold.

         g.    That EVANSTON has no duty to indemnify PWC under the Third and Fourth



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                 Primary Policies and Second and Third Excess Policies because the injury and/or

                 damage was known to PWC prior to the inception of those policies.

          h.     That EVANSTON has no obligation to PWC under the Excess Policies.

          i.     That EVANSTON has no further duty to defend PWC with respect to the

                 allegations and claims asserted in the Underlying Lawsuit.

          j.     That EVANSTON is entitled to reimbursement of any expenses incurred in

                 excess of the reduced limits of the Primary Policies.

          k.     That the Primary Policies are exhausted and EVANSTON has no duty to

                 indemnify PWC for any of the damages sought or claimed in the Underlying

                 Lawsuit.

          l.     That EVANSTON be awarded its lawful costs in connection with the prosecution

                 of this action.

          m.     Such other relief that this Court deems just and proper.

          WHEREFORE, EVANSTON INSURANCE COMPANY seeks entry of judgment in its

   favor, declaring and adjudicating that EVANSTON has no duty to defend and no duty to

   indemnify PWC from any claims alleged in the Underlying Lawsuit. Further, EVANSTON

   demands judgment for its costs and such further relief as the Court may deem just and proper.


          Dated: April 4, 2018
                                               Respectfully submitted,

                                               /s/ Rebecca C. Appelbaum
                                               REBECCA C. APPELBAUM, ESQ.
                                               LEAD ATTORNEY
                                               Florida Bar No.: 0179043
                                               rebecca.appelbaum@arlaw.com
                                               teresa.soluri@arlaw.com




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                                                DEBORAH H. OLIVER, ESQ.
                                                Florida Bar No. 485111
                                                deborah.oliver@arlaw.com
                                                jenny.schroeder@arlaw.com

                                                CHELSEA C. HARRISON, ESQ.
                                                Florida Bar No.: 98536
                                                chelsea.harrison@arlaw.com
                                                lisa.stallard@arlaw.com

                                                ADAMS AND REESE LLP
                                                101 E. Kennedy Blvd., Suite 4000
                                                Tampa, Florida 33602
                                                (813) 402-2880 (Telephone)
                                                (813) 402-2887 (Facsimile)
                                                Attorneys for Plaintiff, Evanston        Insurance
                                                Company



                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 4, 2018, a true and correct copy of the foregoing Amended

   Complaint for Declaratory Judgment has been furnished via CM/ECF to all counsel of record on

   the service list, as well as to Kelly Corcoran via email to kcorcoran@balljanik.com, counsel for

   Defendants Patrick Whyte Construction, Inc. and Seaside Builders, LLC who has completed a

   waiver of service on their behalf but not yet entered a formal appearance.


                                                /s/ Rebecca C. Appelbaum
                                                REBECCA C. APPELBAUM, ESQ.




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